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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

CHARTER COMMUNICATIONS,                          )
INC., et al.,                                    )
                                                 )
      Plaintiffs,                                )
                                                 )
        v.                                       )          Case No. 4:24 CV 199 CDP
                                                 )
UBEE INTERACTIVE, INC.,                          )
                                                 )
      Defendant.                                 )

                    AMENDED CASE MANAGEMENT ORDER

         After due consideration,1

         IT IS HEREBY ORDERED that the motion to amend [70] is denied as to

the request to decrease the number of depositions and granted as to the request for a

non-jury trial, the case management order previously entered in this case is amended

only as follows, and the following amended schedule shall apply in this case and

will be modified only upon a showing of exceptional circumstances:

II.      ORDER RELATING TO TRIAL

       This action, previously set for JURY trial on October 6, 2025, at 8:30 a.m.,
is reset for a NON-JURY trial on October 6, 2025, at 9:00 a.m. This is a two week
docket.


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  The Court considered defendant’s opposition, filed under seal, in its consideration of this
motion, but it was not necessary to file such an extensive, sealed opposition to the motion. There
are no motions to quash deposition subpoenas currently pending before the Court, so the Court
has no occasion to consider the propriety of deposing specific witnesses at this juncture. In the
future, the parties shall make every effort to brief only the issue actually before the Court as
concisely as possible and without including extraneous information which obligates the parties to
file their motions under seal.
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       In this case, unless otherwise ordered by the Court, the attorneys shall,
not less than twenty (20) days prior to the date set for trial:

      1.     Stipulation: Meet and jointly prepare and file with the Clerk a JOINT
Stipulation of all uncontested facts, which may be read into evidence subject to any
objections of any party set forth in said stipulation.

      2.     Witnesses:

           (a) Deliver to opposing counsel, and to the Clerk, a list of all
proposed witnesses, identifying those witnesses who will be called to testify and
those who may be called.

            (b) Except for good cause shown, no party will be permitted to call
any witnesses not listed in compliance with this Order.

      3.     Exhibits:

               (a) Mark for identification all exhibits to be offered in evidence at
the trial (Plaintiffs to use Arabic numerals and defendants to use letters, e.g., Pltf-1,
Deft.-A, or Pltf Jones-1, Deft Smith-A, if there is more than one plaintiff or
defendant), and deliver to opposing counsel and to the Clerk a list of such exhibits,
identifying those that will be introduced into evidence and those that may be
introduced. The list shall clearly indicate for each business record whether the
proponent seeks to authenticate the business record by affidavit or declaration
pursuant to Fed. R. Evid. 902(11) or 902(12).

              (b) Submit said exhibits or true copies thereof, and copies of all
affidavits or declarations pursuant to Fed. R. Evid. 902(11) or 902(12), to opposing
counsel for examination. Prior to trial, the parties shall stipulate which exhibits may
be introduced without objection or preliminary identification, and shall file written
objections to all other exhibits.

               (c) Except for good cause shown, no party will be permitted to offer
any exhibits not identified or not submitted by said party for examination by
opposing counsel in compliance with this Order. Any objections not made in writing
at least ten (10) days prior to trial may be considered waived.




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      4.     Depositions, Interrogatory Answers, and Request for Admissions:

             (a) Deliver to opposing counsel and to the Clerk a list of all
interrogatory answers or parts thereof and depositions or parts thereof (identified by
page and line numbers), and answers to requests for admissions proposed to be
offered in evidence. At least ten (10) days before trial, opposing counsel shall state
in writing any objections to such testimony and shall identify any additional portions
of such depositions not listed by the offering party which opposing counsel proposes
to offer.

            (b) Except for good cause shown, no party will be permitted to offer
any interrogatory answer, or deposition or part thereof, or answer to a request for
admissions not listed in compliance with this Order. Any objections not made as
above required may be considered waived.

      5.     Findings of Fact, Conclusions of Law and Trial Brief: Submit to the
Court and to opposing counsel full, complete, and specific findings of fact and
conclusions of law, together with a trial brief, citing authorities, in support of said
party’s legal theories and discussing any anticipated substantive or procedural
problems.

       6.     Motions In Limine: File all motions in limine to exclude evidence at
least ten (10) days before trial.

       Any provision of the case management order not specifically amended above
remains in full force and effect. Failure to comply with any part of this Order may
result in the imposition of sanctions.




                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE

Dated this 24th day of January, 2025.




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